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U. S. D\STR\CT COURT
WESTERN D\STR\CT ARKANSAS
F\LED

JUN 2 3 2011
IN THE UNITED sTATEs DISTRICT coURT °H“‘S “~J°HNS°"» °LE“"
WESTERN DISTRICT OF ARKANSAS DEPUTY cm
FAYETTEVILLE DIVISION
RICK HOLMAN )
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Piaimiff, ) case No.; \ \' § | § 2
) .
v. )
)
First Revenue Assurance, LLC, ) COMPLAINT AND DEMAND FOR
) JURY TRIAL
)
Defendant. ) (Unlawful Debt Collection Practices)

COMPLAINT
COMES NOW the Plaintiff, RICK HOLMAN, by and through her attorney, Jennifer Lueker
DuCharme of the Wayne Young Law Firm, and for his Complaint against First Revenue Assurance, LLC,
(hereinafter “FRA”) and states and allege as follows:
JURISDICTION

l. Jurisdiction of this Court arises under 15 U.S.C § l692(k) (d), which states that such actions may
be brought and heard before “any appropriate United States district court without regard to the amount in
controversy, and 28 U.S.C. § 1367 , which grants this court supplemental jurisdiction over the state claims
contained therein.

2. This action arises out of Defendant’s violations of the Fair Debt Collection Practices Act, 15
U.S.C. § 1692 et seq. (“FDCPA”) as well as Defendant’s violations of the Telephone Consumer
Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

3. Defendant conduct business in the state of Arkansas, and therefore, personal jurisdiction is
established

4. Venue is proper pursuant to 28 U.S.C. § 139l(b)(l).

 

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PARTIES

5. Plaintiff is a natural person residing in Rogers, Benton County, Arkansas. Plaintiff is a
“consumer” as that term is defined by 15 U.S.C. § l692a(3). 1

6. Defendant FRA is a foreign limited liability company who is a debt collection company doing
business in Arkansas with its foreign address located at 1105 North Market Street, Suite 1150,
Wilmington, Delaware. Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692(6),
and sought to collect a consumer debt from Plaintiffs. 1

7. Defendant FRA acted through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

FACTUAL ALLEGATIONS and PROCEDURAL HISTORY

8. These allegations involve debt collection activity beginning on or about October lO, 2009 and
continuing through at least March l, 2010. Plaintiff asserts he has never been notified of the original
creditor of this debt, his business relationship related to the debt or the amount of debt allegedly owed.

9. On April 30, 2010, Plaintiff’s filed a Complaint against FRA in the District Court of Benton
County, Arkansas, Rogers Division. On June 2, 2010, the Defendant filed an Answer via its legal counsel
and the case was transferred to civil court. On June 23, the Court entered an Order to Dismiss without
prejudice This suit is brought pursuant to the Arkansas Savings Statute, Arkansas Code Annotated 16-
56-126.

10. Since October 2009, Defendant FRA has repeatedly employed unfair and deceptive practices
in an unlawful attempt to collect an alleged debt owed by Plaintiff.

ll. Since October 10, 2009, Defendant FRA placed at least twenty-eight (28) auto-dialed calls to
Plaintiff’s residential telephone from at least the following four (4) different phone numbers: (800) 681-
5823; (303) 595-8100; (303) 595-4400; (800) 554-5822.

12. Defendant FRA failed at all times to provide information regarding notice as required by the

 

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FDCPA. Specifically, FRA failed to identify itself`, the original creditor, the amount of the alleged debt,
and in at least one recorded call failed to state that the communication was related to the collection of debt
(i.e. “mini Miranda notice”).

13. On at least twenty-five (25) occasions Defendant FRA contacted Plaintiff and failed to leave any
identifying information whatsoever.

14. On at least three (3) occasions Defendant FRA left unlawful pre-recorded messages on Plaintiff’s
voicemail, one of which illegally mentions the existence of a debt. Said phone message was recklessly left
on an answering machine which had not been answered in months and which the caller had no way of
ensuring that a third party would not overhear. On at least one of` these three occasions, the Defendant
failed to identify itself and stated that Plaintiff should contact “me.”

15. Defendant FRA continued to make these phone communications without any established business
relationship or express prior consent.

16. On February 12, 2010, the Plaintiff received two calls from a toll-free number assigned to FRA,
(800)-554-5 822. The caller allowed the phone to ring four (4) times, hung up and then immediately called
again and allowed the phone to ring four (4) times before hanging up a second time.

17. Defendant FRA continued to harass Plaintiff in a manner violating 15 U.S.C. l692(d) by making
continuous calls and causing the telephone to ring repeatedly or continuously in a manner intended to
annoy, abuse or harass Plaintiff.

18. Defendant failed to validate debts within five (5) days following the initial communication with
consumer in connection with the collection of any debt in violation of 15 U.S.C. 1692(g).

19. Upon information and belief, Defendant used an automatic telephone dialing system and
artificial prerecorded voice to make multiple calls to Plaintiff for non-emergency purposes and without
the express consent or prior business relationship with Plaintiff in violation of the TCPA. Defendant
further failed, in its prerecorded messages, to state clearly the identity of the business, individual or other
entity initiating the call, as required by law of federal and Arkansas State Law.

20. Plaintiff mailed a letter to the FRA via certified mail, return receipt restricted on February 24,

 

 

 

 

 

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2010, notifying FRA that it was to “immediately cease and desist attempting to contact me or anyone in
my household by telephone Please remove the above referenced phone number from your auto-dialing
system. Any further communication from your company must be done in writing only.” This letter was
received by Michelle Sanchez of FRA on or before March 1, 2010.

21. Even after receiving written communication from Plaintiff requesting communication in writing,
Defendant FRA failed to send any written communication listing the origin or amount of the debt.

22. Defendant FRA never validated the debt as required by law and has provided Plaintiff no
documentation substantiating its claim.

23. Defendant FRA, by and through its agents, harassed Plaintiff.

24. Defendant’s harassing and threatening telephone calls caused undue emotional distress to
Plaintiff. Since that time, Plaintiff has continued to suffer undue emotional distress, as the unsupported
debt has been reported to collection agencies.

COUNT I
DEFENDANT VIOLATED THE
FAIR DEBT COLLECTIONS PRACTICES ACT
25. ln its actions to collect a disputed debt, Defendant violated the FDCPA in one or more of the
following ways:

a. Defendant violated the FDCPA generally;

b. Harassing, oppressing or abusing Plaintiff with the collection of a debt, in violation of 15
U.S.C. § l692(d);

c. Failing to validate debts within five (5) days following the initial communication with
consumer in connection with the collection of any debt in violation of 15 U.S.C. 1692(g).

d. Using false, deceptive or misleading representations or means in connection with the
collection of a debt, in violation of 15 U.S.C. § l692(e);

e. Falsely representing the character, amount or legal status,of a debt, in violation of 15

U.S.C. § l692(e)(2);

 

 

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f. Using false representations or deceptive means to collect or attempt to collect a debt, in
violation of 15 U.S.S. §1692 (f);
g. By failing to provide verification of the alleged debt;
h. By overshadowing Plaintiff’s right to dispute the debt;
i. By acting in an otherwise deceptive, unfair and'unconscionable manner and failing to
comply with the FDCPA;
As a result of Defendant’s aforementioned violations, Plaintiff has suffered and continues to
suffer emotional distress.
As a result of Defendant’s violations of the FDCPA, Defendant is liable to Plaintiff in the sum of
Plaintiff"s actual damages, statutory damages, and attorneys’ fees and costs.
COUNT II
DEFENDANT VIOLATED THE
TELEPHONE CONSUMER PROTECTION ACT
Upon information and belief, at all times relevant hereto, Defendant used, controlled and or l
operated “automatic telephone dialing systems” as defined by § 227(a)(1) of the TCPA.
Defendant initiated approximately (28) telephone calls to Plaintiff" s telephone via auto dialing
and on at least three (3) occasions used artificial and or prerecorded voices to deliver messages
without the express consent of Plaintiff, in violation of 47 U.S.C. §227(b).
The acts and or omissions of Defendant were done unfairly, unlawfully, intentionally, deceptively
and fraudulently and absent bona fide error, lawful right, legal defense justification or legal
excuse.
As a result of the above violations of the TCPA, Defendant is liable to Plaintiff in the sum of
Plaintiff’ s statutory damages, actual damages and reasonable attorney’s fees and costs.
COUNT III
DEFENDANT VIOLATED THE
ARKANSAS DECEPTIVE TRADE PRACTICES ACT

Defendant’s actions constitute unfair or deceptive trade practices within the meaning of the

Arkansas Deceptive Trade Practices Act, as defined by A.C.A. § 4-88-101 et seq.

 

 

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. Plaintiff is entitled to recover actual damages and reasonable attorneys’ fees and costs.
Plaintiff is entitled to injunctive relief against the Defendant and all others acting in concert with
them, enjoying abusive debt collection practices which are directed against Arkansas residents.

COUNT IV
RESPONDEAT SUPERIOR LIABILITY

The acts and omissions of FRA employees, described further herein, were committed within the
time and space limits of their relationship with their principal, Defendant FRA.
Defendant authorized and ratified the tortuous conduct of the individual collectors and agents
through'various means, including the acceptance of fees and monies generated by the collectors’
activities.
The acts and omissions by FRA employees and agents were incidental to, or of the same general
nature as, the responsibilities agents were authorized to perform by Defendant FRA in collecting
consumer debts. Therefore, the illegal actions of the collectors were fully within the scope of their , j
employment by Defendant.
In committing these acts and omissions against Plaintiff, FRA employees and agents were
motivated to benefit their principal, Defendant FRA.
Defendant FRA had a duty to ensure that debt collection activities undertaken by the employees
and agents of FRA were conducted within the bounds of the law.
Defendant FRA knew or should have known these actions taken by FRA and FRA employees
described herein were tortuous and violated the FDCPA, the TCPA, and the Arkansas Deceptive
Trade Practices Act.

COUNT V

NEG`LIGENT HIRING, RETENTION AND SUPERVISION

. Defendant FRA negligently hired persons of dubious character to perform collection activities

. Defendant FRA negligently failed to adequately supervise the individual collectors.

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43. Defendant FRA negligently retained individual collectors who repeatedly violated consumer

protection laws.

44. Defendant FRA therefore breached the duty to ensure debt collection activities undertaken by its

employees and agents were in compliance with all consumer protection statutes and the common

law.

45. Plaintiff suffered damages that were proximately caused by the Defendant’s breach of that duty.

Plaintiff is therefore entitled to recover compensatory damages

WHEREFORE, Plaintiff, Rick Holman, respectfully pray for judgment as follows:

a. Declaratory judgment that Defendant’s conduct violated the FDCPA and TCPA:
b. For actual and statutory damages for violations of the FDCPA and TCPA;
c. F or actual damages for violations of the Arkansas Deceptive Trade Practices Act;
d. F or damages under the doctrine of respondeat superior;
e. F or compensatory damages for negligent hiring, supervision and retention;
f. For reasonable attorney’s fees, witness fees, court costs and other litigation expenses incurred
by Plaintiff;
g. And for all other just and appropriate relief deemed by this Court.
JURY TRIAL DEMANDED.

Respectfully Submitted,
Rick Holman, Plaintiff

  

By:

 

ifer Lueker DuCharme
ABA No. 2007248

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